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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT



UNITED STATES OF AMERICA

v.                                                                 3:12 CR 238 (JBA)

FREDERIC PIERUCCI

                                   ENDORSEMENT ORDER

        Defendant’s Motion for Modification of Conditions of Release [Doc. #408] is hereby

granted, absent objection. The defendant is permitted to return to France until October 9, 2017

under the same terms and conditions as stated in the Supplemental Order Setting Conditions of

Release [Doc. #168].




                                                    IT IS SO ORDERED.



                                                    _____/s/___________________________
                                                    Janet Bond Arterton, U.S.D.J.

Dated at New Haven, Connecticut: September 26, 2017
